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                                         U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       July 15, 2019

EX PARTE and UNDER SEAL

BY EMAIL and HAND
The Honorable William H. Pauley III
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Michael Cohen, 18 Cr. 602 (WHP)

Dear Judge Pauley:

       Pursuant to the Court’s February 7, 2019 opinion and order (the “Order”) and May 21,
2019 order, the Government respectfully submits this sealed, ex parte status report explaining the
need for continued redaction of the materials subject to the Order. (See Order at 30).

        By way of background, several media organizations filed a request to unseal the affidavits,
warrants, and riders associated with several different searches that were conducted in connection
with a grand jury investigation into Michael Cohen and others (the “Materials”). The Government
opposed that request, citing the need to protect an ongoing investigation and the personal privacy
of certain individuals named in the Materials. On February 7, 2019, this Court granted the motion
in part and denied it in part. Although the Court directed that certain parts of the Materials be
unsealed (with limited redactions to protect privacy interests), the Court denied the motion to
unseal all of the Materials. Relevant here, the Court held that “the portions of the Materials relating
to Cohen’s campaign finance crimes shall be redacted” to protect the ongoing law enforcement
investigation. (Order at 11). On May 21, 2019, after receiving a status update from the
Government on the need for continued sealing, the Court issued an order permitting continued
sealing of the campaign finance portions of the Materials to protect an ongoing investigation, and
directed that the Government provide another update by this date.

       The Government is no longer seeking to maintain the campaign finance portions of the
Materials under seal in order to protect an ongoing investigation.1 However, while the majority of


1
 The Government has effectively concluded its investigations of (1) who, besides Michael Cohen,
was involved in and may be criminally liable for the two campaign finance violations to which
Cohen pled guilty                                ; and (2) whether certain individuals,
                  , made false statements, gave false testimony or otherwise obstructed justice in
connection with this investigation
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the campaign finance portions of the Materials can now be unsealed, the Government respectfully
submits that some redactions should be maintained in order to protect the personal privacy of
certain individuals. In particular, consistent with the Court’s prior Order, the Government seeks
to redact references to individuals who are either (1) “‘peripheral characters’ for whom the
Materials raise little discernable inference of criminal conduct” but who “may nonetheless be
‘stigmatized’” by their inclusion in the Materials; or (2) people “around Cohen from which the
public might infer criminal complicity.” (Order at 14). However, while most references to such
individuals are redacted, the Government does not seek to redact references to those individuals
that are either (a) facts that have been publicly confirmed, either by the individual in public
statements or the Government in public filings; or (b) facts sourced from publicly available
materials. (See Order at 15 (“Shielding third parties from unwanted attention arising from an issue
that is already public knowledge is not a sufficiently compelling reason to justify withholding
judicial documents from public scrutiny.”)).

        Together with this letter, the Government has transmitted a copy of one of the search
warrant affidavits with the proposed redactions marked. See Ex. A, at 38-57, 66-67, 71, 73-74,
83-101. (The proposed redactions also include the privacy-based redactions previously authorized
in the bank and tax portions of the Materials.) The Government respectfully requests that the Court
approve these redactions, and will submit corresponding redactions to the other affidavits (which
are substantially similar to the attached affidavit) once the Court has ruled on these proposed
redactions.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Attorney for the United States,
                                                 Acting Under Authority Conferred by
                                                 28 U.S.C. § 515


                                             By: __________________________
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cc: Counsel of Record (by ECF)
